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 4
     Attorney for Defendant
 5   JAMES CASTLE
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   Case No.: 2:15-cr-00190 MCE
                                                       )
12                          Plaintiff,                 )   REQUEST FOR WAIVER OF
                                                       )   DEFENDANT’S IN-PERSON
13          vs.                                        )   APPEARANCE (LOCAL RULE 137(b)
                                                       )   & GENERAL ORDER 616)
14   JAMES CASTLE,                                     )
                                                       )
15                          Defendant.                 )
                                                       )
16                                                     )
17          Pursuant to Local Rule 137(b) and General Order 616, defendant James Castle hereby
18   waives the right to be present in person in open court upon the hearing of any motion or other
19   proceeding in this case, including, but not limited to, when a continuance is ordered, and when
20   any other action is taken by the court after trial, except upon imposition of sentence.
21   Defendant hereby requests the Court to proceed by videoconference of defendant’s presence,
22   the same as if defendant were present in-person, and further agrees to be present in court ready
23   for sentencing any day and hour the Court may fix in his absence. Undersigned has consulted
24   with the defendant and the defendant consents to counsel’s signing on defendant’s behalf.
25   / / / / /
26   / / / / /
27   Dated: June 17, 2020                                   /s/ Michael E. Hansen for
                                                            JAMES CASTLE
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                                                   1

     Request for Waiver of Defendant’s Personal Presence
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 1
 2          I agree with and consent to my client’s waiver of appearance.
 3   Dated: June 17, 2020                                  /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 4                                                         Attorney for Defendant
                                                           JAMES CASTLE
 5
 6
 7                                             ORDER
 8          I approve the above waiver of in-person presence.
 9          IT IS SO ORDERED.
10   Dated: June 23, 2020
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     Request for Waiver of Defendant’s Personal Presence
